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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS
                                 URBANA DIVISION


MISTI SMITLEY,                                       )
                                                     )
               Plaintiff,                            )
                                                     )
       v.                                            )
                                                     )
VILLAGE OF OAKWOOD, a Municipal                      )
Corporation in Vermilion County, Illinois;           ) Case No: 2:22-cv-2137
CHIEF OF POLICE RONALD SODERSTROM;                   )
AND MAYOR HEATHER MCARTY,                            )
                                                     )
               Defendants.                           )


   DEFENDANTS’ MOTION FOR LEAVE TO FILE UNDER SEAL UNREDACTED
         EXCERPTS FROM MOTION FOR SUMMARY JUDGMENT

       Defendants Village of Oakwood, Chief of Police Ronald Soderstrom, and Mayor Heather

McArty (collectively “Defendants”), by and through their attorneys, and pursuant to Federal Rule

of Civil Procedure 26(c) and Local Rule 5.10, and move this Court for an order allowing them to

file certain unredacted excerpts from their Motion for Summary Judgment under seal, and in

support thereof states as follows:

       1.      On May 6, 2022, Plaintiff filed an eight-count Complaint in Vermillion County,

   Illinois alleging: (1) disability discrimination in violation of the IHRA; (2) disability

   discrimination – failure to accommodate in violation of the IHRA; (3) gender discrimination

   in violation of the IHRA; (4) Retaliation due to disability in violation of IHRA; (5) retaliation

   due to gender in violation of IHRA; (6) retaliatory discharge in violation of the Illinois Wage

   and Hour Act 820 ILCS 116/14; (7) violation of the Illinois Whistleblower Act; and (8) tortious

   interference with advantageous business relations (Defendant Heather McArty only).
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         2.    This matter was removed to the Central District of Illinois on June 23, 2022. (ECF

   2).

         3.    On February 27, 2023, the Court entered into a Protective Order (ECF 27)

         4.    Subsequently, on April 6, 2023, this Court entered into a HIPAA Qualified

   Protective Order. (ECF 31).

         5.    Defendants have prepared a motion for summary judgment on all eight claims

   brought by Plaintiff. This motion

         6.    Defendants request leave to file under seal certain unredacted excerpts from their

   Motion for Summary Judgment because these items reference Plaintiff’s protected healthcare

   information. Furthermore, this information has been designated as “confidential information”

   pursuant to the Stipulated Protective Order and Confidentiality Agreement entered February

   27, 2023 (ECF 27).

         7.    Filing the contents of the below-listed excerpts as part of the public record may

   disclose information designated as confidential information to the public, in violation of both

   the Confidentiality order and/or the HIPAA Qualified Protective Order.

The following are relevant unredacted excerpts from Defendants Undisputed Material Facts
(Defendant’s Motion p. 11-18):

         42.   On January 20, 2021, Mrs. Smitley presented to establish care with Dr. Haydee

Jabines-Stewart (“Dr. Stewart”) at the Christie Clinic. At that time, Mrs. Smitley had experienced

weight loss for over a year, feeling of exhaustion, and could barely stand. Mrs. Smitley was

seeking a second opinion from a specialist at the Cleveland Clinic [Exhibit P Deposition of Dr.

Stewart at 20: 19-24 and at 21:1-8]

         43.   On March 22, 2021, Mrs. Smitley was re-evaluated by her primary care physician,

Dr. Stewart and her symptoms had not improved. Mrs. Smitley advised that she had an upcoming



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appointment with a sarcoidosis specialist. She states that she has a debilitating fatigue and can

barely function throughout the day. [Exhibit P, Deposition of Dr. Stewart at 22:17-22].

       44.     On April 15, 2021, she was seen at the Christie Clinic where is was noted that she

was also being treated by Rheumatology, pulmonology, dermatology, and neurology. She was

experiencing a variety of symptoms including numbness and coldness in her feet, significant neck

pain, burning and shooting pain to the right side, and stiffness in the neck. [Exhibit M, Christie

Clinic Medical Records CHRISTIE CLINIC 000534-000540]

       45.     Mrs. Smitley was first evaluated by the sarcoidosis team at the Cleveland Clinic on

April 29, 2021. The Cleveland Clinic was not covered by Mrs. Smitley’s insurance at her prior

job in Westville. However, the Cleveland Clinic was in-network and was covered under the

insurance policy at Oakwood. [Exhibit L, Deposition of Dr. Bravo at 21:20-24 and at 22:1-15]

       46.     At the April 29, 2021 visit with Dr. Debasis Sahoo from the Cleveland Clinic, Mrs.

Smitley described her current condition including exertional shortness of breath, chest tightness,

blurriness of vision, speech and cognition issues, decreased short term memory, joint pain, loss of

weight, and heaviness in her legs. [Exhibit N Cleveland Clinic Records, CLEVELAND CLINIC

414-417]

       47.     On May 27, 2021, the day immediately prior to her interview with the Mayor and

Chief Soderstrom for the SRO position, Mrs. Smitley presented for an appointment with Dr.

Stewart at the Christie Clinic. Her symptoms were continuing to worsen at this time. She reported

to Dr. Stewart that she was experiencing tender lymph nodes on her neck, and a hoarse voice

[Exhibit P Deposition of Dr. Stewart at 23:13-17].

       50.     On July 28, 2021, just several days after starting her full-time position as the SRO

in Oakwood, Mrs. Smitley presented for an initial examination with Dr. Lulette Tricia Bravo (“Dr.




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Bravo”), at the Cleveland Clinic. Her symptoms at this appointment included brain fog/cognitive

issues, peripheral neuropathy, fatigue, blurring of vision, cough and shortness of breath, and rash.

[Exhibit N, Cleveland Clinic Records, CLEVELAND CLINIC 320-326] . Ms. Smitley incorrectly

advised Dr. Bravo at the July 28, 2021 appointment that she had been taken off patrol due to her

weakness and pain. So, now she does more education with kids. [Exhibit N, Cleveland Clinic

Records, CLEVELAND CLINIC 320-326]

       51.     By September 15, 2021, Mrs. Smitely was following up with pain management.

She had been using a TENS Unit and was continuing to take Hydrocodone for pain relief. [Exhibit

M, Cleveland Clinic Records, CHRISTIE CLINIC000227-243]

       52.     Mrs. Smitley’s last regulary scheduled work day was on October 28, 2021 [Exhibit

O Time cards]. As of November 1, 2021, Ms. Smitley had 45.75 hours of compensatory time and

4 accrued sick days. (Exhibit Q 11.30 memo memorandum and Exhibit O Time cards]. Dr. Bravo,

from the Cleveland Clinic testified that by this point, her medical condition had worsened and Mrs.

Smitley was having severe symptoms. [Exhibit L, Deposition of Dr. Bravo at 36:5-9. In

November 2021, Mrs. Smitley was experiencing blurred vision, black spots, dizzy spells,

worsening neck pain, inability to move her neck, and sudden tingling in her hands. [Exhibit L,

Deposition of Dr. Bravo at 35:1-24, at 36:1-9: and Exhibit P Deposition of Dr. Stewart at 24:19-

23]

       54.     Mrs. Smitley was seen by Dr. Stewart on November 3, 2021 due to the urgent nature

of her symptoms. At this time, Mrs. Smitley was complaining of issues with vision and that she

could barely see. She was experiencing black spots and was not able to drive. [Exhibit P,

Deposition of Dr. Stewart AT 25:4-11).




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        56.     On November 7, 2021, Mrs. Smitley provided an off-work note from Dr. Haydee

Jabines-Stewart at the Chrstie Clinic dated November 3, 2021 stating that she is excused from

work November 1, 2021 through November 7, 2021. She may return to work on Monday,

November 8, 2021. [Exhibit S Note].

        58.     From November 9, 2021 through November 12, 2021, Mrs. Smitley was admitted

as an in-patient to the Cleveland Clinic for a work-up for sarcoidosis. (medical). She was

experiencing severe symptoms with blurred vision, speech issues (stutter), neck pain, sudden onset

of loss of vision, numbness and tingling in hands, and pain [Exhibit N Cleveland Clinic,

CLEVELAND CLINIC 202-285]

        60.     On or about November 12, 2021, Chief Soderstrom engaged in a text coversation

with Mrs. Smitley. She advised that her sarcoidosis flared up and she had a lumbar puncture to

release pressure off the brain. Chief Soderstrom advised that he would need a letter from her

doctor clearing her for unrestricted duty due to the the circumstances. (Exhibit T, Text Messages

#2).

        62.     On November 15, 2021, after being released from the Cleveland Clinic, Mrs.

Smitley followed up with her primary care provider, Dr. Stewart at the Christie Clinic. According

to the deposition of Dr. Stewart, Mrs. Smitely was still debilitated at this time. She was still very

sick and could barely function. Mrs. Smitley was stuttering, had slurred speech, and neck pain.

She could not move her left lower leg and was experiencing intermittent elecrtic shock pain.

(Exhibit P, Deposition Transcript of Dr. Stewart at 27:16-24 at 28:1-23 and at 49:20-22]

        63.     On November 17, 2021, Mrs. Smitley posted on Facebook that she was admitted to

the Cleveland Clinic. She started to stutter, had blurry vision, lost feeling in her left leg, left arm,




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and left side of her face. [Exhibit J, Deposition Deposition of Misti Smitley at 115:13-20 and

Exhibit 1 to Deposition of Misti Smitley]

       76.     Dr. Stewart testified that at the November 15, 2021 appointment, Mrs. Smitley was

actively being treated by several specialists and she was still sick. [Exhibit P, Deposition Transcript

of Dr. Stewart at 35:1-4] She had vision loss, left-sided sensory deficit, left-sided weakness, vision

disturbances, electric shock, and inability to walk. With all of those symptoms present, Mrs.

Smitley could barely function let alone return to any form of employment, especially that of a

police officer. [Exhibit P, Deposition Transcript of Dr. Stewart at 35:6-12 at 49:20-22 and at 50:

4-8]

       77.     The last time Dr. Bravo saw Mrs. Smitley was in November 2021 at the Cleveland

Clinic. She was not asked to provide a return to work note or address restrictions. However, it is

her opinion, based on the symptoms at that time that Mrs. Smitley would not be ready to return to

work as a police officer. [Exhibit, L Deposition of Dr. Bravo at 62:9-24 and at 63:1-6]. Dr. Bravo

opined that Mrs. Smitley’s position as a police officer would involve not only physical but also

potential neurological concerns. [Exhibit, L Deposition of Dr. Bravo at 65:16-24 and at 66:1-10].



   The following are relevant unredacted excerpts from Defendants Argument section
   (Defendant’s Motion p. 24-25):

       From November 9 through November 12, 2021, Mrs. Smitley was admitted into the

Cleveland Clinc because she experienced severe symptoms with blurred vision, speech issues

(stutter), neck pain, sudden onset of loss of vision, numbness and tingling in hands, and pain.

[Defs’ SOF, ¶ 59]. On November 12, 2021, Mrs. Smitley advised Chief Soderstrom that her

sarcoidosis flared up and she had a lumbar puncture to release pressure off the brain. As a result,

Chief Soderstrom advised Mrs. Smitley that she would need to submit a medical certification



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clearing her for active police duty. See Kurtzhals v. Cnty. of Dunn, 969 F.3d 725, 731 (7th Cir.

2020) (requiring plaintiff, a police officer, to submit medical certification was proper given the

nature of a police officer’s essential job duties). By November 15, 2021, Mrs. Smitley’s medical

providers confirmed that she could barely function let alone return to any form of employment,

especially that of a police officer. [Defs’ SOF, ¶ 62]. Dr. Stewart testified that at the November

15, 2021 appointment, Mrs. Smitley was actively being treated by several specialists and she was

still sick. [Defs’ SOF, ¶ 75]. She had vision loss, left-sided sensory deficit, left-sided weakness,

vision disturbances, electric shock, and inability to walk. Id. Mrs. Smitley was debilitated and

could barely function. Id.

        From November 19 through December 13, 2021 – tweny-four (24) days – the Village

waited for Mrs. Smitley to submit her medical provider’s certification confirming that she could

perform the essential functions of her job, even with an accomodation. [Defs’ SOF, ¶ 78]. Of

course, no such certification came, and in fact, Mrs. Smitley did not communicate with the

Village at all during these tweny-four days. [Defs’ SOF, ¶ 78]. This comes as no surprise, because

Mrs. Smitley continued to seek treatment and could not perform the essential functions of her job

as confirmed by Dr. Bravo during Mrs. Smitley’s December 29, 2021 medical appointment.

[Defs’ SOF, ¶ 82].

        8.      Defendants have made a reasonable and good faith effort to limit the material it

seeks to file under seal, to the extent practicable.

        WHEREFORE, for the reasons stated above, Defendants the Village of Oakwood, Chief

of Police Ronald Soderstrom, and Mayor Heather McArty respectfully request the Court enter an

order granting them leave to file under seal the unredacted excerpts from their Motion from

Summary Judgment as identified in paragraph 7 above.




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Dated: March 22, 2024

                                                            Respectfully submitted,



                                                            Tressler LLP

                                                            By: /s/ Jennifer A. Dancy
                                                            Darcy L. Proctor
                                                            Jennifer A. Dancy
                                                            233 S. Wacker Drive, 61st Floor
                                                            Chicago, IL 60606
                                                            312-627-4000
                                                            dproctor@tresslerllp.com
                                                            jdancy@tresslerllp.com




                                     CERTIFICATE OF SERVICE
The undersigned attorney certifies that she filed a copy of the foregoing document was filed
electronically to all parties of record using the court’s CM/ECF system, on this 22st day of March
2024:

                                  Ronald S. Langacker
                                  Langacker Law, Ltd.
                                  210 N. Broadway
                                  Urbana, Illinois 61801
                                  Attorney for Plaintiff


                                                 Respectfully submitted,


                                                 By:        /s/ Jennifer A. Dancy
                                                            One of the attorneys for Defendant the Village of
                                                            Oakwood
Darcy Proctor,
Jennifer A. Dancy
Tressler LLP
233 S. Wacker Drive, 61st Floor
Chicago, IL 60606
(312) 627-4000
dproctor@tresslerllp.com
jdancy@tresslerllp.com



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